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D.I. 21835 - the Claim Allowance Stipulation
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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W. R. GRACE & CO., et al,’ ) Case No. 01-1139 (IKF)
) Jointly Administered
Debtors. ) RE: Doc. No. 21722

ORDER APPROVING STIPULATION REGARDING ORDER APPROVING
STIPULATION REGARDING CLASSIFICATION OF CLAIMS OF MORGAN
STANLEY SENIOR FUNDING, INC. AS ASSIGNEE OF CERTAIN
CLAIMS OF BANK OF AMERICA, N.A. UNDER THE PLAN

Upon consideration of the Stipulation Regarding Classification of Claims of
Morgan Stanley Senior Funding, Inc. as Assignee of Certain Claims of Bank of America, N.A.
Under the Plan attached hereto as Exhibit 1 (the "Stipulation") and after due deliberation and
sufficient cause appearing therefore;

IT IS HEREBY ORDERED THAT:

1. The Stipulation and all of its terms are approved.

1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food "N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Partners 1, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal I, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.

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2. This Court shall retain jurisdiction to hear and determine all matters
arising from or in connection with the implementation, enforcement and interpretation of this

Order.

Dated: May 22, 2009

ee Honorable id ¢ Fitegerald

United States Bankruptcy Court Judge

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EXHIBIT 1
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11

) .
W.R. GRACE & CO., et al, ) Case No. 01-1139 (JKF)
Debtors. ) Jointly Administered

)

STIPULATION REGARDING CLASSIFICATION OF CLAIMS OF
MORGAN STANLEY SENIOR FUNDING, INC. AS ASSIGNEE OF
CERTAIN CLAIMS OF BANK OF AMERICA, N.A. UNDER THE PLAN }

WHEREAS, on April 2, 2001 (the “Petition Date”), W. R. Grace & Co. and W. R. Grace
& Co. — Comn. (“Grace-Conn”) and certain of their affiliates and subsidiaries (together with W.
R. Grace & Co. and Grace-Conn, the “Debtors”) petitioned the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) for relief under chapter 11 of title 11 of the
United States Code;

WHEREAS, prior to the Petition Date, Bank of America, N.A. (“BofA”) issued three
standby letters of credit for the account of Grace-Conn (collectively, the “Letters of Credit”) as
collateral for certain insurance transactions and surety bonds issued in favor of the Debtors;

WHEREAS, upon any draw under the Letters of Credit, Grace-Conn was obligated to
reimburse BofA in‘accordance with the terms of certain agreement(s) between Grace-Conn and
BofA in accordance with the terms thereof (the “Reimbursement Agreements”);

WHEREAS, on November 11, 2005, the Debtors and BofA entered into that certain
Stipulation Regarding Allowance of Certain Claims (the “2005 Stipulation”);

WHEREAS, pursuant to the terms of the 2005 Stipulation, the Debtors agreed that, as a
result of National Union Fire Insurance Company of Pittsburgh, PA having drawn on two of the
Letters of Credit, BofA was entitled to (i) an allowed, unsecured nonpriority claim against
Grace-Conn in the amount of $9,779,270, and (ii) an allowed, contingent, unliquidated and
undisputed claim against Grace-Conn with respect to ali undrawn amounts of the outstanding
Letters of Credit;

} This Stipulation relates to classification of the Claims described herein under the First
"Amended Joint Plan of Reorganization Under Chapter 11 of the Bankruptcy Code of W.
R. Grace & Co., et al., The Official Committee of Asbestos Personal Injury Claimants,
the Asbestos PI Future Claimants’ Representative, and the Official Committee of Equity
Security Holders Dated February 27, 2009 (the “Plan”). If the Plan, as amended from

time to time, is not confirmed, this Stipulation shall have no force and effect.

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WHEREAS, on November 14, 2005, the Bankruptcy Court entered its Order Authorizing
Settlement with Bank of America, N.A. and Granting Related Relief which authorized the
Debtors’ entry into the 2005 Stipulation;

WHEREAS, in light of National Union’s further draws under the Letters of Credit,
BofA’s allowed, contingent, unliquidated and undisputed claim against Grace-Conn with respect
to all undrawn amounts of the outstanding Letters of Credit was liquidated in the amount of
$6,710,110 (the $6,710,110 claim and the $9,779,270 claim being, collectively, the “Claims”);
WHEREAS, pursuant to Transfer of Claim Agreements dated April 24, 2006 and February 22,
2008, Morgan Stanley Senior Funding, Inc. (“Morgan Stanley”) became the owner of all of .
BofA’s right, title and interest in and to the Claims;

WHEREAS, on February 27, 2009, the Debtors and others (collectively, the “Plan
Proponents”) filed their Disclosure Statement (the “Disclosure Statement”) in support of the
Plan; °

WHEREAS, pursuant to Section 3.2.16 of the Disclosure Statement, the Debtors
confirmed the amount of the Claims;

WHEREAS, on March 9, 2009, the Bankruptcy Court entered its Order Approving
Disclosure Statement, Solicitation and Confirmation Procedures, Confirmation Schedules and
Related Relief (the “Disclosure Statement Order”);

WHEREAS, the Disclosure Statement Order approves certain procedures to be followed
by creditors who object to the classification of their claim under the Plan;

WHEREAS, the Plan may be interpreted in such a way as to classify the Claims other
than as Class 9 Claims (as defined in the Plan) and the Debtors initially so contended;

WHEREAS, Morgan Stanley contends that the Claims should be classified as Class 9
General Unsecured Claims (as defined in the Pian),
‘

WHEREAS, upon consideration of the 2005 Stipulation, the Debtors and other Plan
Proponents agree with Morgan Stanley’s contention and desire to memorialize their agreement
regarding the classification of the Claims under the Plan;

NOW, THEREFORE, it is hereby stipulated and agreed (this “Stipulation”) by and
between Morgan Stanley and the Plan Proponents:

1. Notwithstanding any provisions of the Plan and Disclosure Statement to the
contrary, the Claims shall be allowed as Class 9 General Unsecured Claims (as defined in the
Plan).

2. Neither Morgan Stanley, BofA, nor any other party shall be required to file a
Disputed Classification Declaration as provided under the Disclosure Statement Order in
connection with the Claims, and execution of this Stipulation shall be considered to be
satisfaction of such requirement.

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3. - This Stipulation shall inure to the benefit of Morgan Stanley, the Plan Proponents,
their successors and assigns.

4. The Debtors shall submit this Stipulation to the Bankruptcy Court for approval.

5. This Stipulation may be signed in counterparts and by facsimile, with each signed
counterpart being deemed a part of the original document.

6. This Stipulation may not be modified, altered, or amended except by a writing
Signed by the parties.

7. All disputes regarding or arising under this Stipulation shall be determined by the
Bankruptcy Court.

KATTEN MUCHIN ROSENMAN LLP KIRKLAND & ELLIS LLP

Jeff J. Friedman, Esq. Theodore L. Freedman, Esq.

Noah Heller, Esq Deanna D. Boll, Esq.

Merritt A. Pardini, Esq. Kirkland & Ellis LLP

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212-446-4800

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Janet S. Baer, Esq.

The Law Offices of Janet S. Baer, P.C.
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‘Suite 2100

Chicago, IL 60602

312-644-2162

and

PACHULSKI STANG ZIEHL & JONES LLP

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Wilmington, Delaware 19899-8705
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Attorneys for the Debtors

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D.L 21753 — the Post Petition Interest Determination Notice
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Case No. 01-01139 (JKF)
W.R. GRACE & CO., et al., : Jointly Administered
Debtors. : Chapter 11

Related to: Docket Nos. 19579, 20864

POST-PETITION INTEREST DETERMINATION NOTICE

Morgan Stanley Senior Funding, Inc. (“Morgan Stanley”) respectfully submits this Post-
Petition Interest Determination Notice as required pursuant to the approved Notice of Procedures
Relating to Payment of Post-Petition Interest on General Unsecured Claims.

Background

1, On April 2, 2001 (the “Petition Date”), W. R. Grace & Co., W. R. Grace & Co. —
Conn: (“Grace-Conn”) and certain of their affiliates and subsidiaries (together with W. R. Grace
& Co. and Grace-Conn, the “Debtors”) filed with this Court their petitions for relief under
chapter 11 of title 11 of the United States Code.

2. Prior to the Petition Date, Bank of America, N.A. (“BofA”) issued three standby

letters of credit for the account of Grace-Conn (collectively, the “Letters of Credit”) as collateral

for certain insurance transactions and surety bonds issued in favor of the Debtors. Upon any
draw under the Letters of Credit, Grace-Conn was obligated to reimburse BofA in accordance
with the terms of certain agreement(s) between Grace-Conn and BofA (the “Reimbursement
Agreements”). _

3. On November 11, 2005, the Debtors and BofA entered into that certain

Stipulation Regarding Allowance of Certain Claims (the “2005 Stipulation”), pursuant to which

Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 11 of 55

the Debtors agreed that, as a result of National Union Fire Insurance Company of Pittsburgh, PA
having drawn on two of the Letters of Credit; BofA was entitled to (i) an allowed, unsecured
nonpriority claim against Grace-Conn in the amount of $9,779,270, and (ii) an allowed,
contingent, unliquidated and undisputed claim against Grace-Conn with respect to all undrawn
amounts of the outstanding Letters of Credit. On November 14, 2005, this Court entered its
Order Authorizing Settlement with Bank of America, N.A. and Granting Related Relief which
authorized the Debtors’ entry into the 2005 Stipulation. ~

4, In light of National Union’s subsequent draws under the Letters of Credit, BofA’s
allowed, contingent, unliquidated and undisputed claim against Grace-Conn with respect to all
undrawn amounts of the outstanding Letters of Credit was liquidated in the amount of
$6,710,110 (the $6,710,110 claim and the $9,779,270 claim being, collectively, the “Claims”).
Pursuant to Section 3.2.16 of the Disclosure Statement in these cases, the Debtors confirmed the
amount of the Claims.

5. Pursuant to Transfer of Claim Agreements dated April 24, 2006 and February 22,
2008, Morgan Stanley became the owner of all of BofA’s right, title and interest in and to the
Claims.

6. Pursuant to a Stipulation Regarding Classification of Claims of Morgan Stanley
Senior Funding, Inc. as Assignee of Certain Claims of Bank or America, N.A. Under the Plan,
the Claims are allowed in full as Class 9 General Unsecured Claims.

Non-Default Contract Rate of Interest

7. The Reimbursement Agreements provide for the payment of interest “on demand,
on any amount not paid when due . . . from the due date until payment in full at a rate per annum

equal to the rate of interest publicly announced from time to time by Bank of America as its

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prime rate, plus three percentage points (not to exceed the maximum rate permitted by applicable
. law)”. See Reimbursement Agreement at § 1(g).
8. Copies of the Letters of Credit and Reimbursement Agreements are attached as
Exhibit “A” hereto and fully incorporated herein by reference. A more legible copy of the form
of Reimbursement Agreement is attached as Exhibit “B” hereto.

Dated: May 19, 2009

/s/ Stuart M, Brown .
EDWARDS ANGELL PALMER & DODGE LLP
Stuart M. Brown (Bar No. 4050)

919 North Market Street

15th Floor

Wilmington, Delaware 19801
(302) 777-7770

-and-

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Attorneys for Morgan Stanley
Senior Funding, Inc.

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EXHIBIT A

LETTERS OF CREDIT AND
REIMBURSEMENT AGREEMENTS

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Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 15 of 55

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Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 18 of 55

OCT 27 2604 11:24 FR BANK OF AMERICA

BankofAmerica “>

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704 386 7515 To 97642642445 P.91784

Lo, McKenney

Fax: 704-306-1759

From; Dale
Fax:

DATE: JULY 31, 2000

J. Robertson PAGE: 1

312-974-0142

IRREVOCABLE STANDBY LETIER OF CREDIT NUMBER: 7403964

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NATIONAL UNION FIRE INSURANCE (CO.
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AND ANY OTHER APFILIATE OF ANY OF
. THESE, AS THEIR INTERESTS MAY -

_ APPEAR
P.O. BOK 923

WALL STREET STATION’;

NEW YORK, NY 10268
ATIN: MR. ART STILLWELL

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- APPLICANT

W.R. GRACE AND COMPANY
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COLUMBIA, MD 21044

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Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 19 of 55

OCT 27 2804 11:24 FR BANK OF AMERICA 24 386 7515 TO 97042642405

BankofAmerica ~*~

PAGE: 2

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Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 20 of 55

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Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 21 of 55

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Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 22 of 55

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BankofAmerica <>

AMENDMENT TO IRREVOCABLE DOCUMENTARY CREDIT NUMBER 07404163

° DATE SEPTEMBER 16, 2002

BENEFICIARY APELICANT
NATIONAL UNION FIRE INSURANCE CO. . WR. GRACE AND CO. - CONN
OF PITTSBURGH, PA 7500 GRACE DRIVE
AMERICAN How ASSURANCE COMPANY COLUMBIA, MD 21044

THE INSURANCE COMBANY OF THE STATE

EXPIRY
SEPTEMBER 15, 2003

DEAR SIR(S).

THIS AMENDMENT IS TO BE CONSIDERED AS PART OF TRE ABOVE LETTER OF CREDIT AND
MUST BE ATTACHED HERETO.

THE ABOVE NAMED LETTER OF CREDIT IS AMENDED AS FOLLOWS:

VALIDITY EXTENDED To: SEPTEMBER 15, 2003
ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.

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DATE: SEPTEMBER 15, 2400

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Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 24 of 55

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Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 26 of 55

EXHIBIT B

REIMBURSEMENT AGREEMENTS

Case 01-01139-AMC Doc 23636-1 Filed 11/02/09 Page 27 of 55

Bank of America

For Bank of America Use Only

Application and Agreement for Standby Letter of Credit LICNo
TO: Bank of America, N.A. (“Bank of America”) :
A. Application. .
1. (“Applicant”) requests Bank of America to issue an irrevocable standby letter of
credit (“Letter of Credit”) as follows:
{_] Full text teletransmission (CO Ainmail with brief preliminary teletransmission advice L] Airmail ( Courier
2. Applicant Address: 3. For Account of (Name and address, if different from Applicant):
4, Advising Bank: 5. In favor of (Beneficiary Name and Address):
6. Amount: (
(in words and figures)
Currency

(if left blank, U.S. Dollars) .

Expiration Date. Drafts to be drawn on and presented at Bank of America’s Address set forth in the Letter of Credit on or before:
If this box is marked, Applicant authorizes Bank of America to effect payment of any sums due under this Application and Agreement by
means of debiting Applicant’s account with Bank of America set forth below. This authorization does not effect the obligation of Applicant
to pay such sums when due, if there are insufficient funds in such account to make such payment when due, or if Bank of America fails to
debit the account, and this authorization does not affect any setoff rights of Bank of America at law or in equity. Applicant’s account number

with Bank of America is

7. Available by drafts drawn at sight on Bank of America when accompanied by the following documentation:
a. The original Letter of Credit. .
b. The signed statement of the Beneficiary worded as follows (state wording that is to appear in the statement accompanying the draft; specify if
such wording must be exact): :

8. Special Instructions:

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B. Agreement.
In consideration of Bank of America’s issuing the Letter of Credit at the request of
Applicant, Applicant agrees to the following:

1. Applicant Payments.

(a) Applicant shall pay Bank of America, on demand, all amounts paid by Bank of
America under or in respect of the Letter of Credit.

) On each fee payment date, so long as any undrawn amount of the Letter of Credit
remains available, Applicant shall pay Bank of America a Letter of Credit fee. The fee
payment date(s) shall be the date(s) as Applicant and Bank of America may agree, or in the
absence of such agreement, the fee payment date shall be the date on which Bank of
America issues the Letter of Credit. The fee shall be at such rate per annum as Applicant and
Bank of America may agree or, in the absence of such at the rate it
charged by Bank of America at the time such fee is payable, based upon Applicant's
creditworthiness, as determined by Bank of America in its sole discretion. The applicable
Letter of Credit fee shall be calculated and payable on the undrawn amount of the Letter of
Credit as of each fee payment date, and shall be for the period commencing on such fee
payment date and ending on the day p ing the next fee p date (or the expirati
date of the Letter of Credit, as the case may be), both dates inclusive. The Letter of Credit
fee will be computed on the basis of a 360-day year and actual days elapsed. Bank of
America shall not be required to refund any portion of the Letter of Credit fee paid for any
period during which (a) the Letter of Credit expires or otherwise terminates or (0) the
undrawn amount of the Letter of Credit is reduced by drawings or by amendment.

(c) Applicant shell pay Bank of America, on demand, commissions and fees for

d to, p under, ions of or ation of the Letter of Credit, and
other services in the amounts Applicant and Bank of America may agree or, in the absence
of such agr in the ily charged by Bank of America on the date of
Bank of America’s demand.

{Q) All paymenis and deposits of any kind by Applicant under this Application and
Ag including p shall be made at the banking center or office Bank of
America may designate from time to time, Bank of America shall have no obligation to pay
Applicant interest on any such payment, prepayment or deposit made by Applicant under
this Application and Agreement.

{e) (i) All payments and deposits by Applicant under this Appli and A

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America from paying any amount under the Letter of Credit. Additionally, Applicant will
indemnify and hold Bank of America harmless from and against all claims, losses, damages,
suits, costs or exp (includi bh * fees and allocated costs of in-house
counsel, and legal expenses) arising out of Applicant's failure to timely procure licenses or
comply with applicable laws, regulations or rules, or any other conduct or failure of
Applicant relating to or affecting the Letter of Credit .

(b) Hany award, judgment or order is given or made for the payment of any amount
due under this Application and Agreement and such award, judgment or order is expressed
in a currency other than the currency required under this Application and Agreement,
Applicant shall indemnify Bank of America against and hold Bank of America harmless
from all loss and damage incurred by Bank of America as a result of any variation jn rates of
exchange between the date of such award, judgment or order and the date of payment (or, in
the case of partial payments, the date ofeach partial payment thereof) in the Tequired

currency
(c) Each of these ind: shal} itute an obli separate and independent
from the other obligati d in this Application and Agr shall give rise toa

and independent cause of action, shall apply irrespective of any indulgence granted
by Bank of America from time to time, and shall continue in full force and effect
ithstanding any award, jud; or order for a liquidated sum in respect ofan amount
due under this Application and Agreement.

5. Governing Law and Rules. The Letter af Credit will be subject to, and performance
under the Letter of Credit by Bank of America, its pond and the b jary will
be govemed by, the rules of the “Intemational Standby Practices 1998” (‘ISP98"} or such
later revision as may be published by the Institute of Intemational Banking Law & Practice,
subject to applicable laws. The Letter of Credit and this Application and Agreement shall be
governed by and construed under the laws of the state in the United States where Bank of
‘America issues the Letter of Credit, without reference to that state’s provisions regarding
conflicts of laws, to the jurisdiction of which the parties hereto submit. If the Leiter of Credit
is not issued in any state, the law of the State of Califomia will govern.

6. Applicant Status. The word “Applicant” in this Application and Agreement refers to
each signer (other than Bank of America) of this Application and Agreement. Hf this

Application and A is signed by more than one Applicant, their obligations under

shall be in the currency in which the Letter of Credit is payable, except that Bank of
America may, at its option, require payments and deposits by Applicant under this
Application and Agreement to be made in U.S. Dollars if the Letter of Credit is payable ina
foreign currency.

this Application and Agreement shall be joint and several.

7. Representations and Warranties, Applicant represents and warrants to Bank of
America that it has the authority to enter into this Application and Agreement and that such
Agreement will not violate or conflict with any of the provisions ofits constituent

(ii) The amount of each payment and each deposit by Appli under this Ap
and Agreement in U.S. Dollars for a Letter of Credit payable in a foreign currency shall be
determined by converting the relevant amount to U.S. Dollars at the Conversion Rate in
etlect:

(A) with respect to each payment under Section }(a) of this Agreement, on the date
the payment is made by Bank of America under or in respect of the Letter of ‘Credit; and
(B) with respect to each payment not falling under the preceding clause (A) and
each deposit, on the date of Bank of America's demand for such payment or
deposit.

Gii) Ifa U.S. Dollar deposit by Applicant under this Application and Agreement for a
Letter of Credit payzble in a foreign currency becomes less than the U.S. Dollar equivalent
of the undrawn amount of the Letter of Credit because of any variation in rates of exchange,
Applicant shall deposit with Bank of America, on demand, additional amounts in US.
Dollars so that the total ammount deposited by Applicant under this Application and
Agreement is not less than the U.S, Dollar equivalent of the undrawn amount of the Letter of
Credit, determined by using the Conversion Rate on the date of Bank of America’s latest

(iv) “Conversion Rate” means the rate quoted by Bank of America for the p

or any other agr or to which itis 4 party or to which it is
bound.
8. Miscellaneous.

{a) No delay, extension of time, renewal, campromise or other indulgence which may
occur or be granted by Bank of America shall impair the rights and powers of Bank of
America hereunder. Bank of America shall nat be deemed to have waived any of its rights
hereunder, unless Bank of America shall have signed such waiver in writing.

(b) Any notice from Bank of America to Applicant shall be sent to the address of

pplicant set forth on the Application and shall be eff upon receipt by Applicant. Any
notice from Applicant to Bank of America shall be sent to the address of Bank of America
specified by Bank of America to Applicant and shall be effective upon receipt by Bank of

erica.

(c) Each pi of this Appli and Agr shall be interpreted in such
manner as to be effective and valid under applicable law, but if any provision of this
Application and Agreement shall be prohibited by or invalid under applicable law, such
provision shall be ineffective only to the extent of such prohibition or invalidity, without
invalidating the inder of such provision or the ining provisions of this Applicati

and

from Bank of America of the relevant foreign currency with U.S. Dollars.

(f) Applicant shall reirnburse or comp Bank of America, on demand, for all costs
incurred, losses suffered and payments made by Bank of America which are applied or
altocated by Bank of America to the Letter of Credit (as determined by Bank of. ‘America) by
reason of any and all present or future reserve, capital, deposit, assessment or similar
requirements against (or against any class of or change in or in the amount of} assets or
liabitities of or commitments or extensions of credit by, Bank of America.

(g) Applicant shail pay interest, on demand, on any amount not paid when due under this
Application and Agreement from the due date until payment in finl ata rate per annum equal
to the rate of interest publicly announced from time to time by Bank of America as its prime
rate, plus thres percentage points (not to exceed the maxi rate permitted by applicabl
law). The prime rate is set by Bank of America based on various factors, including Bank of
America’s costs and desired yetum, general economic conditions and other factors, and is
used as a reference point for pricing some credits. Bank of America may price credit at,
above or below the prime rate. Any change in Bank of America’s prime rate shall take effect
at the opening of business on the day specified in Bank of America’s public announcement
ofa change in Bank of America’s prime rate. Interest will be computed on the basis ofa
360-day year and actuai days elapsed.

2. Deposit Eveats. Upon the of any of the ing events, Applicant shall
deposit with Bank of America, on demand (except that such demand shall not be required in
the event ofan occurrence described in (b) below) and as cash security for Applicant's
obligations to Bank of America under this Application and Agreement, an amount equal to
the undrawn amount of the Letter of Credit:

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(a) Applicant defauits under any p of this Applii and A
{b} Any or similar pi is d with respect to Applicant;
(c} Any default occurs under any other ag olving the t ing ofmoney

or the extension of credit under which Applicant may bs obligated as
purchaser or guarantor, if such default consists of the failure to pay any indebt-edness when
due or if such default permits or causes the acceleration of any indebtedness or the
termination of any commitment to lend or to extend credit,

(d) Applicant or any of its affiliates defaults on any other obligation to Bank of
Asnerica;

{e} In the opinion of Bank of America, any material adverse change occurs in
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(a) Any and ai] payments made to Bank of America hereunder shall be made free and
clear of and without deduction for any present or future taxes, levies, imposts, deductions,
charges or withholdings, and all liabilities with respect thereto, excluding income or
franchise taxes imposed by the United States and any political subdivisions thereof (such
nonexcluded taxes being herein called “Taxes”). If Applicant shall be required by law to
deduct any Taxes from or in respect of any sum payable hereunder, (i) the sum payable shall
be increased as may be necessary so that after making all required deductions fincluding,
deductions applicable to additional sums payable under this Section 8(d)), Bank of America
shal] receive an amount equal to the sum Bank of America would have received had no such
deductions been made, (ii) Applicant shall make such deductions, and (iii) Applicant shall
pay the full amount deducted to the relevant authori in di with applicable law.
Applicant will indemnify Bank of America for the full amount of Taxes (including, witiout
limitation, any Taxes imposed by any jurisdiction on amounts payable under this Section
8(d)) paid by Bank of America and any liability (including penal ies, interest and exp
arising therefrom or with respect thereto, whether or not such Taxes were correctly or
legally asserted. This indemnification shal] be made within 30 days from the date Bank of
‘America makes written demand therefor. Within 30 days after the date of any payment of
Taxes, Applicant will furnish to Bank of America the original or a certified copy of a receipt
evidencing payment thereof.

(e) This Application and Agreement shail be binding upon Applicant, its successors:
and assigns, and shall inure to the benefit of Bank of America, its successors, transferees and
assigns; provided that any assi; by Applicant of any of its rights or obligations under
this Application and Agreement without the prior written consent of Bank of America shalt
be void.

(6 Uniess the Applicant has specified in the Application that the wording of the Letter
of Credit must be exact, Applicant understands that the final form of the Letter of Credit
may vary from the wording specified in the ication, and Applicant izes Bank of
America to make such changes, not i with the Application, which
Bank of America deems necessary or appi

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priate. Applit d ds that the risk to
Applicant is greater if Applicant requests a standby Ictter of credit which requires only a
draft, rather than a standby letter of credit which requires supporting documentation.
(g) In the event of any change or modification, with the consent of Applicant, which
consent may be given by any means of submission acceptable to Bank of America,

or ability to perform its

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under this Application and Agreement,
(f) Any of Applicant's under this Appli and A
terminates, is revoked or its validity is contested by the guarantor, or any of the events set
forth in (b) through (€) above ocour with respect to the guarantor rather than the Applicant;
or

{g) Any court order, injunction or other legal process is issued restraining or seek-ing
to restrain drawing or payment under the Letter of Credit.

3. Charge to Accounts. If Bank of America is unable to debit the account, ifany,
specified on the Application, Applicant authorizes Bank of America to charge any of
Applicant's accounts with Bank of America, or any affiliate of Bank of America, for all
amounts then due and payable to Bank of America under this Application and Agreement.

4. Indermnities.

(s) Applicant will indemnify and hold Bank of America (such term to include for
purposes of this Section 4 affiliates of Bank of America and its affiliates’ officers, directors,
employees and agents) harmless from and against (i) alt loss or damage arising out of the
issuance by Bank of America, or any other action taken by any such indemnified party in
connection with the Letter of Credit including any loss or damage arising in whole or in part
from the negligence of the party seeking indemnification, but excluding any loss or damage

Iting from the gross negli or willful misconduct of the party seeking
indemnification, and (ii) all costs and exp Ludi I * fees and
allocated costs of in-house counsel and legal expenses) of all claims or Iegalproceedings
arising out of the issuance by Bank of America of the Letter of Credit or incident to the
collection of amounts owed by Applicant hereunder or the enforcement of the rights of Bank
of America h der, including, without limitation, legal p ings related to any court
order, injunction, or other process or decree restraining or seeking to restrain Bank of

without iP ite or telex, relative to the Letter of Credit or
any ii called fork di any waiver made or in good faith believed by
Bank of America to have been made by Applicant of any term hereof or the noncompliance
of any such instruments with the terms of the Letter of Credit, this Application and

_ Agreement shail be binding upon Applicant with regard to the Letter of Credit as so changed
or modified, and to any action taken by Bank of America or any of its correspondents

yelative thereto. No term or pl of this Appli and Agr can be changed
orally, but only in a writing and signed by Applicant and Bank of America.

(h) Bank of America assumes no liability or ibility for the
arising out of delay and/or loss in transit of any message, letter or documentation, or for
delay, mutilation or other exror arising in the ission of any tel ission. in no
event shall Bank of America be liable for any special, indirect, consequential or exemplary

ges.

(i) If Applicant includes in the Application any lang) events oF
conditions that would not be possible for Bank of America to verify solely frors the
de coquired to be pi d under the Letter of Credit, Applicant acknowledges and
agrees that Bank of America has no obligation to verify pli: with such requi

NOTICE OF FINAL AGREEMENT. THIS WRITTEN AGREEMENT
REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND MAY
NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS
OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE ARE NO
UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.

This App d by Applicant on

and Ag is

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Name of Applicant

By: . Title

Name of Applicant (if any, co-signing with the Applicant above)

By: Title

(WHERE SPECIMEN SIGNATURES OF THE APPLICANT NAMED ABOVE ARE NOT ON FILE WITH BANK

OF AMERICA, THE FOLOWING SIGNATURE VERIFICATION IS REQUIRED.)

The above signature of an officer, pariner or agent of each Applicant indicated above confirms to that on file
with us and such officer, partner or agentis fully authorized to sign this Agreement far such Applicant.

By. BANK (Full Name} (Bank Address)

Authorized Signature/Tide (Specimen signature of the signer must be on file with Bank of America)
05-35-0521BW 05-2001

FOR OFFICE USE ONLY
05-35-05218W. [1] Trade Operations Mail Code#
COMMISSION Ci PerStandard Fee Schedule  (] Other C1 Charge Banking Center
Ol Charge Directy 1) Commissions and Charges 1 Drawings, Commissions
soe, only and Charges
APPROVING OFFICER (Printed Name) PHONE #
OFFICER TELEPHONE # FAX#
DDA APPLICANT AIC
APPROVING BANK OFFICER SIGNATURE

OFFICER - INTEROFFICE ADDRESS

OFFICER NUMBER AND COST CENTER NUMBER

Bank of America, N.A.

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

IN RE: . Case No. 01-1139 (JKF})

W.R. GRACE & CO., .
et al., . USX Tower - 54th Floor
600 Grant Street
Pittsburgh, PA 15219
Debtors.
September 16, 2009
9:09 a.m.

TRANSCRIPT OF PLAN CONFIRMATION HEARING
BEFORE HONORABLE JUDITH K. FITZGERALD
UNITED STATES BANKRUPTCY COURT JUDGE

APPEARANCES:
For the Debtors: Kirkland & Ellis, LLP
By: DAVID BERNICK, ESQ.
200 East Randolph Drive
Chicago, IL 60601
For the Asbestos Caplin & Drysdale, Chartered
Creditors Committee: By: NATHAN FINCH, ESQ.
JAMES WEHNER, ESQ.
One Thomas Circle, NW
Washington, D.C. 20005
For the Future Orrick, Herrington & Sutcliffe, LLP
Claimants By: ROGER FRANKEL, ESQ.
Representatives: JONATHAN GUY, ESQ.
Washington Harbour
3050 K Street, N.W.
Washington, D.C. 20007
Audio Operator: Janet Heller

Proceedings recorded by electronic sound recording, transcript
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(609) 586-2311 Fax No. (609) 587-3599

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Ziily - Direct/Bernick 106
plan document, with respect to the assets that are going into
the PI trust, asbestos PI trust. And, obviously, in connection
with looking at the estimation reports, also obviously read
those estimation -- the actual reports.

Q I’m showing you the Plan Proponents’ Demonstrative 511-6,
could you tell us what is reflected in that document?

A This page shows the ranges, or certain of the ranges that
were set forth, I believe, in connection with the estimation
hearing either expert reports or rebuttal reports as to the
estimates of asbestos personal injury liabilities ranging from
a -- for purposes of this chart a low of $200 million to a high
of $6.2 billion.

Q Okay. At any point in time has the extent of Grace’s
personal injury liabilities, absent a plan that is confirmed,
has the -- as an estimate -- strike that. Has an estimate of
Grace’s personal liability injuries actually been fixed?

A No, it has not.

Q As of this point in time, absent a plan of reorganization
that is confirmed, as a financial advisor and an expert in
restructuring, is there any methodology that you’re aware of
that can be used to establish exactly or even approximately
what that personal injury ultimate -- liability ultimately
would be determined to be?

A No, there is not.

Q Based upon the current state of affairs with these

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Zilly - Direct/Bernick 107
different estimates that are out there, is it possible to

render an opinion, a formal opinion, regarding Grace’s

solvency?
A No, I don’t believe it is.
QO Now, are you familiar with the fact that the plan of

reorganization that’s been proposed in this case spells out a
rate of interest for -- post-petition interest to be paid to
the general and secured creditors?

A Yes, I’m aware of that.

Q And within that, are you aware of the rate that is

specified for the debt holders, in particular?

A Yes, I’m aware of that.
QO Okay. And what is that rate?
A The plan provides for a rate that beginning as of the

petition date was 6.09 percent, compounded annually, and then
beginning, I believe, January Ist, 2006, that rate now floats

with prime, also compounded annually.

Q Okay.

A Quarterly -- compounded quarterly, I’m sorry.

QO Turning to Plan Proponents’ Exhibit 511-7 for
demonstrative purposes. And I'd say, Your Honor, this is a

chart that we’ve created for demonstrative purposes, not
representing that it was prepared by Ms. Zilly.
THE COURT: It’s not on yet.

Q Now, let me ask you some questions, I’ve put on the
y

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Zilly - Cross/Cobb 115
accepting it as an opinion. I’m just accepting it as what she
was doing in analyzing the best interest test in her report.
Okay.

Q In addition, Ms. Zilly, you are the debtor’s sole expert
witness with regard to solvency, that’s correct?

A That’s correct.

Q And you’ve submitted in that context your expert rebuttal
report to Mr. Frezza, the committee’s expert and the lender’s
expert, and you’ve also submitted an affidavit in connection
with the debtor’s objection to the bank lender’s proofs of
claim, correct?

A That’s correct.

Q Now, in performing all of the analysis and preparing and
reviewing the financial reports, spread sheets, cash flows, all
of the items that we just discussed and referenced, you will
agree that you have never performed a solvency analysis of
Grace?

A I have not performed a complete solvency analysis of
Grace, that’s correct.

Q I’m sorry, did you say a complete solvency analysis of

Grace or you --

A Yes, in my view there are several tests for solvency.
Q So, in your view there are simple tests for solvency?
A Several.

Q Several, okay. Thank you. And you would agree that

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Zilly - Cross/Cobb 116
you're offering no opinion in this confirmation process with
regard to whether Grace is solvent?

A That is correct.
Q And you also are offering no opinion as to whether Grace

is insolvent?

A That is correct.

Q As of any date with respect to both of those questions?

A I’m offering a rebuttal to Mr. Frezza’s report.

Q And you will agree with me that for purposes of the plan
that is before the Court -- I think it’s be referred to as the

joint plan, I’lli call it the plan for purposes of our
discussion -- that for purposes of the plan, the Court must
determine whether Grace will be solvent as of the effective
date of the plan, correct?

MR. BERNICK: Objection, calls for the witness to
discuss procedures that the Court may or may not follow.
That’s not an appropriate question for an expert in this case.

MR. COBB: Your Honor, she’s a -- she’s been offered
as a financial restructuring expert.

THE COURT: Yes, but --

MR. COBB: She has extensive expertise apparently in
-- not only in testifying in bankruptcy processes, but also in
providing advice --

THE COURT: Yes.

MR. COBB: -- in connection with the bankruptcy.

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Zilly - Cross/Cobb 138
BY MR. COBB:
Q Ms. Zilly, assuming that the plan is confirmed and goes
effective, isn’t it true that as of the effective date of the
plan Grace will have the ability to pay its debts as and when
they come due?
A That is my opinion in my feasibility report assuming
confirmation of the plan and consummation of the plan.
QO And isn’t it true that there’s no difference between that
conclusion in your feasibility analysis and the conclusion that
would be reached if a solvency analysis was performed using the
same test, that is, Grace’s ability to pay its debts as and
when they come due on the effective date?

MR. BERNICK: I’m sorry. So, object to the form of
the question. If you make the assumption that the test of
solvency is identical to the test of feasibility, then the
question is -- it states a truism. So, I don’t believe that
you're asking for a truism, so I don’t understand what the
incremental evidence that you’re asking for from this witness
is. Object to the form of the question.

Q I’ll restate it and try it a different way. Is there any
difference, Ms. Zilly, between the solvency test of a company’s
ability to pay its debts, when due, and under a feasibility
analysis a company’s ability to pay its debts when due,
speaking generally, not of Grace?

A No.

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“ Frezza — Continued Direct/Pasquale 269

THE COURT: No, obviously not.

MR. PASQUALE: The fact that it’s Mr. Frezza’s first
time --

THE COURT: That has --

MR. PASQUALE: -- has explained -- I’m sorry, Your
Honor.

THE COURT: That has no bearing on this
determination. The problem is that he said in his deposition
that he is not an expert. He does not hold himself out to be
an expert in quantifying liabilities. I don’t know how you do
a solvency analysis without quantifying liabilities. So, okay,
go ahead.

BY MR. PASQUALE:

Q I think the question I left you with, Mr. Frezza, is, in
considering solvency of the plan before the Court, on what date
did you test solvency?

A Upon the effective date of the proposed plan.

Q And what date is that?

A 12/31/2009.

MR. BERNICK: The effective date -- can we be clear
that that is -- assumes that the plan has gone into effect?

THE WITNESS: That’s correct.

MR. BERNICK: Thank you.

THE COURT: And what date, Mr. Frezza?

THE WITNESS: December 31st, 2009.

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Frezza — Continued Direct/Pasquale 270
Q Did you form an opinion as to whether Grace will be
solvent on the effective date of the plan now being considered

by the Court?

A I did.
Q What is your opinion?
A That Grace --
MR. BERNICK: Can we just -- sorry. It would solve
the objection problem if he could just say assuming the plan

was effective because --
MR. PASQUALE: All of my questions for Mr. Frezza

will assume that the plan is confirmed and becomes effective.

MR. BERNICK: Thank you very much.
A Could you repeat your question, Mr. Pasquale?
Q I asked you, I believe, what is your opinion?
A In my opinion, upon the effective date Grace will be
solvent.
QO What did you do to form that opinion?
A I did a number of things. I performed a number of tests
that are commonly done in forming an opinion on solvency.

Q Please describe those tests.

A Let me describe the tests. The three most common tests
are the cash flow test -~ what is commonly known as the cash
flow test or the ability to pay debts as they come due. The
adequate capital test which is more of a qualitative test of

considerations -- various considerations that are professional

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we'll take into consideration in forming an opinion. And

finally, a balance sheet test.
Q Let me ask you about each of those, one by one. Please
describe for the Court what is entailed with a cash flow test

of solvency.
A A cash flow test is designed -- the professional would
approach it by reviewing a cash flow forecast prepared by the

company, evaluating whether the forecast makes sense,
critically challenging the underlying assumptions, considering
sensitivities to that forecast in view of the company’s
historical performance. And once you’ve considered those
factors and form an opinion as to whether the company is able
to at a particular test date as well as in the future able to

meet its obligations as they come due.

Q Is there anything else involved in the cash flow test?

A And that’s principally the cash flow test.

Q Please describe for the Court the components, or what you
do in performing an adequate capital test of solvency.

A The adequate capital test is more of a qualitative test
whereby the professional would consider, for instance, the

results of the cash flow test which is more quantitative. In
addition, you would look to see what indicators would allow one
to determine whether a company is solvent or insolvent such as,
does the company have cash on its balance sheet. Does the

company have access to a revolver in order to fund debts as

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they come due in excess of cash for instance. Does the company
have credit terms from its vendors. Does the company have an

equity cushion that would be determined based on the balance
sheet test which we’1ll discuss in a moment, and various other
factors.

One might look at various ratios, as well, whether
the company’s current assets exceed its current liabilities and
so forth. So, that -- and once you take those data points into
consideration, it would allow the professional to form an
opinion on whether the company passes the capital test.

QO Thank you. And you mentioned in passing the third of the

test, the balance sheet test, please describe that test for the

Court.
A In general, the balance sheet test is a test to determine
whether the company -~- the company’s assets exceed its

liabilities at a test date. And taking that one step further,
the balance sheet test can be administered in up to three
different ways in its most common form. Those three methods
that could be performed under the balance sheet test include
the market approach, the income approach, and the cost
approach.

QO I’ll stop you there. lLet’s break that down. Please
describe for the Court the market approach to the balance sheet
test.

A Certainly. In the market approach the professional would

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analyze peer group companies or guideline companies that are
comparable to the company being tested and review, for
instance, their enterprise value and compare that to the
company’s EBITDA, earnings before interest, taxes,
depreciation, and amortization.

And after reviewing those companies, determine sort
of a mean and median multiple of EBITDA to enterprise value of
those entities. In addition, the professional would lock to
precedent transactions or MNA transactions in the market that
would be indicative of a value for the target company or the
company being discussed for solvency.

And one would take the combination of the results of
those two analyses and determine a range of multiples to apply
to, for instance, Grace’s EBITDA, for let’s say all of 2009.
And then that would result in what would be called enterprise
value. In the market approach to the balance sheet test,
enterprise value is a proxy for the fair value of the assets.
when you’re performing the balance sheet test in each case, one
must look to the fair value of the assets. Not the book value,
but the fair value of those assets in determining whether the
company has -- is solvent in terms of assets exceeding
liabilities, and by how much those assets exceed liabilities,
which is also referred to as an equity cushion.

Q Now, you mentioned also the income approach. Can. you

please describe the income approach?

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A Sure. The income approach is an approach whereby you
would take the company’s detailed financial projections over
whatever period is involved -- or available. Excuse me -- and
also taking a terminal value year which is to -- the terminal
value year is generally thought to be the normalized income
statement performance of a company ad infinitum.

And then a professional would perform a discounted
cash flow analysis on those projections, including the terminal
year, and come up with and apply an appropriate discount
factor. And then determine a -- again, an enterprise value
which again would be the proxy for asset value -- fair value of
assets. And then --

Q And finally -- I’m sorry. Were you finished?

A And then, again, there would be an examination of
liabilities against those assets to determine what the equity
cushion is on the income approach.

Q Thank you. And finally is the cost approach. Can you
please describe the cost approach?

A Sure. Under the cost approach one would take the
traditional stated balance sheet as of the test date, in this
case 12/31/2009 projected pro forma balance sheet, and one
would need to seek to find the fair value -.of those assets,
compare them to the stated liabilities as reported, and
determine what the equity cushion is.

And the thought under the cost approach is, what

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would it cost the willing buyer to replace these assets because
the book value of a company’s assets, depending on the asset
class, typically are lower than fair value. So, one would need
appraisals or a business valuation of the assets to determine
what the fair value of those assets would be under the cost
approach and then compare the stated liabilities on the balance
sheet to determine the equity cushion.

Q Let me ask you, Mr. Frezza -- well, a foundational
question first. What is GAAP?

A GAAP stands for generally accepted accounting principles,
and it is the codification of accounting principles by which
all United States reporting companies, and even companies that

don’t report, use to record transactions and report their

financial statements.

Q And are you familiar with the GAAP principles?

A Yes, I am.

Q How do GAAP principles, if at all, impact a balance sheet
test?

A Under GAAP, typically -- well, again, there are 161
statements of financial accounting standards that have to be
applied. Many of them are for specific purposes or specific
accounting issues, but the entire codification of GAAP requires
assets to be recorded on the books at the most conservative

value, for instance, the lowest value possible.

And just to provide an example, for instance,

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inventory -- let’s say a company has inventory that is a highly
traded commodity. GAAP requires that inventory to be recorded
at the lower of cost or market. So, if the market value of
that inventory is actually higher than book value, the book
value is used. If the market value of that inventory is below
its cost of the company, then you use the market value only to
the extent it does not exceed cost.

With respect to property and equipment, a good
example is the purchase of real estate for a facility prior to
1980 let’s say. And the company functioning now has this real
estate, and assuming it’s their own environmental issues, if it
were to sell it the land value would likely exceed what the
company purchased the land and building for because keep in
mind when you purchase land and building you’re actually
depreciating the building and any improvements over a long
period of time, so the book value actually declines over a long

period of time such that if you were to sell that facility it

would likely be -- again, if it was not soiled by environmental
issues -- likely be valued higher than its book value.
On the liability side, GAAP, again being -- taking

the most conservative approach to recording transactions,

liabilities have to be at their highest level possible. Any
liability that is likely to be paid and is estimable must be
recorded on the balance sheet. So, a balance sheet reflects

all the liabilities that the company could possibly be aware

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of, and as long as they’re estimable -- reasonably estimable --
they are on the balance sheet. So --

Q And -- I’m sorry.

A I’m sorry. So, just to wrap up, GAAP really is the most
conservative approach to recording transactions on financial
statements.

QO Now, doing a balance sheet analysis of solvency, you
mentioned on the asset side fair value of assets is a standard,
with respect to liabilities, is that a book value or a fair
value or something else?

A The typical language is stated value which would be
normally book value.

QO Now, do each of the three tests that you’ve described, a
cash flow test, adequate capital test, balance sheet test, do
each of those tests have to be satisfied in order for -- in
order to determine that a company is solvent or insolvent as of
a specific date?

A No, there’s no requirement to perform all three tests.
And it also depends on the situation to the extent solvency is
very clear versus murky. A professional who is approaching a
solvency analysis would not need to do all three tests and just
take into consideration whatever factors are demonstrative of
solvency or insolvency.

Q Now, let’s turn to Grace specifically. Did you consider

whether Grace is solvent under the cash flow test?

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A I did.
Q What did you do?
A I started off with Ms. Zilly’s feasability study --
feasibility report, and that was the only source of financial
projections that I had available to me. In that report she
provides a summary of the company’s financial projections.
What I did is, in reviewing those projections I analyzed the
revenue trend being assumed, the core EBITDA trend being
assumed. I considered the underlying assumptions by deriving
them from my analysis in that report.

As well as in reading her report, it’s very clear
that -- very clear -- a number of things are very clear by
reading her report. In looking at the trends being assumed, it
was clear to me that the assumptions being used in that
forecast are very conservative considering my knowledge of
Grace’s performance in the past, as well as what she stated in
her report, just for some data points, sales have doubled since
the company filed, or I should say from the year 2000 to 2008.
Core EBITDA has increased by 64 percent from the year 2003 to
2008.

The company has generated operating-free cash flow of
over $1.6 billion in that period, and the company is currently
sitting on $622 million, or I should say at the end of June,
$622 million of cash. Very strong performance, and in my

analyses of the company’s performance over the years, has

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continuously exceeded -- with the exception of 2008 has
continually exceeded its performance -- its budget, excuse me.

So, based on my knowledge of the company and my
involvement with the company, based on my analysis of the
summarized cash flow forecast in her report, and also taking
into consideration all the facts and data that she laid out, I
completely concurred with her view that the projections are
reasonable and easily met. And quite frankly, I would go as
far to say that, you know, that the work that she had done to
come up with that view is the same work that I did, or was able
to do, to come up with my solvency opinion.

Q Well, let’s be clear. The work that you reviewed of Ms.
Zilly was not a solvency report, was it?

A That’s correct. But, it could’ve been.

Q Please elaborate on that. What do you mean by you

could’ ve?

A Just simply, as I said already, that the analyses and the
work performed by me and by Ms. Zilly is the identical work
that would be performed if she were to render a solvency
opinion. It’s the same thing.

Q And just so we’re clear, this is with respect to the cash
flow test?

A With respect to the cash flow test, correct.

Q What conclusion, if any, did you draw from the cash flow

analysis that you did?

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A That Grace will be solvent on the effective date and
thereafter based on those financial projections under the cash
flow test. It passes the cash flow test.
Q Did you consider whether Grace is solvent as of the
effective date under the adequate capital test? :
A I did.
Q And what did you do?
A As mentioned earlier, I looked at all the factors that I
listed, including the fact that leading up to the proposed
effective date, Grace has, with one exception, has really never
used its debtor in possession borrowing facility with the
exception of the payment to the EPA, I believe, where they had
drawn it down, but paid it back very quickly.

Other than that, to my knowledge, the company’s
really never used its DIP facility for any substantial reason
other than to provide liquidity for letters of credit
requirements. The company has maintained a very significant
cash balance, and while it -- these are periods in time leading
up to, they’re all indicative of the fact that the company was
very strong -- had a very strong financial performance in its
ability to generate cash and have capital available to -- where
there are bumps in the road -- financial bumps in the road.

In addition, we understand that the company’s very
far along in negotiating with exit lenders. Generally, lenders

aren’t going to spend the amount of time that we understand is

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being spent here if they felt that the company was insolvent.
Based on -- to the best of our knowledge, and when I say our
knowledge, in the work that I’ve done over the quarters and
over the years, that Grace’s vendor community holds it in high
regard. The company continues to get full vendor terms. So,
that providing of credit is an indication that the company is
solvent, and the fact that the company has a substantial equity
cushion under the balance sheet test.

Q We'll talk about that in a second. Mr. Frezza, did you
draw a conclusion as to whether Grace is solvent under the
adequate capital test?

A In my report I concluded that it passed the adequate
capital test, yes.

Q Now, did you consider whether Grace is solvent as of the
effective date under the balance sheet test?

A I did.

Q Okay. And how did you perform a balance sheet test as of
the effective date?

A As of the effective date. I started with the company’s
disclosure statement. So, first let me say, the approach I
took was the market approach. And I first went to the
company’s disclosure statement because there were substantial
disclosures about how the company arrived at its enterprise
value for instance. And as I mentioned, what a professional

would do will seek to find guideline companies, analyze the

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statistics related to those companies, key statistic being its
EBITDA multiple or its enterprise values to EBITDA, as well as
precedent transactions.

It was very clear from the disclosure statement that
a substantial amount of work had been done by the company and

its advisors to determine guideline companies and precedent

transactions. And one point that I noted in the disclosure
statement was the fact that -- it was a very good point -- that
the company indicates the key -- a key to the success of this

test is the appropriate selection of the guideline companies
such that we’re certain that those guidelines -- those
guideline companies are appropriate in comparing them to the
various businesses within Grace, and in my opinion, who better
to make that decision but the company.

And it’s completely appropriate for a professional to
rely on other professional’s analyses to determine, for
instance, what enterprise value is. So, I used the disclosure
statements enterprise value to determine what the proxy for
fair value of the assets were under the market approach of the
balance sheet test.

Q Did the disclosure statement provide amounts, figures,
that you could use in determining -- in applying a balance
sheet test under the market approach?

A It did. It did. Yes.

Q Please explain what you did.

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line, the reorganized equity value and what that represents?
A As I mentioned earlier, this test is designed to determine
whether the fair value of assets exceeds stated liabilities,
and the equity cushion, therefore, represents that asset value,
fair value of assets, in excess of stated liabilities which
indicates that there’s a substantial equity cushion at the
effective date.
Q When you say there’s an equity cushion as of the effective
date, did that inform a conclusion that you formed with respect
to whether Grace would be solvent under the market approach as
of the effective date?
A It does. Under the market approach of the balance sheet
test, that indicates that the company is solvent.
Q Now, did you perform a balance sheet test applying the
income approach as of the effective date, December 31st, 2009?
A Sorry? Restate the question?
Q Let me try that again. Did you perform a balance sheet
test applying the income approach as of the effective date?
A I did not.
Q And why not?
A Because, again, having the -- one would need detailed
financial projections over a period of time to determine that
and I didn’t have -- while there was a summary, set of summary
projections, in Ms. Zilly’s report, I did not have access to or

I did not have available to me those -- any projections that

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would have allowed me to do a discounted cash flow approach.
MR. BERNICK: I object to that, Your Honor. This now
gets into a whole history of the information room that was made
available and I don’t really think it’s an appropriate thing
for an expert to testify to. He can’t testify to facts he
doesn’t know about. He can say that he didn’t have it, but to
say that it wasn’t available goes beyond his factual knowledge.
THE COURT: Okay. That’s sustained unless you can

substantiate that he had knowledge on his own.

MR. PASQUALE: Your Honor, I’m actually --
O You didn’t do that test, did you?
A I didn’t do that test.
Q Okay. Did you perform a balance sheet test applying a
cost approach with respect to this plan as of the effective

date?
A With respect to this plan, I did not. Again --
Q And why not?

A Because you would need -- as I mentioned earlier, under
the cost approach, you would look at -- you would take a more
traditional balance sheet, but -- like this GAAP balance sheet,
but you would need -- one would need to determine the fair
value of those assets as stated on the GAAP balance sheet and
that would require either having had an independent third party
business valuation or set of appraisals on individual assets.

Again, for instance, if there were appraisals available on

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facilities, the myriad of facilities that Grace owns, whether
there would also be, to the extent available, when one would
require appraisals of intellectual property and other
intangible property, and that I did not have.

Q Now, in addition to the tests that you’ve already
described, were you also asked by counsel to consider Grace’s
solvency under any specific assumptions?

A Yes. I was asked by counsel to substitute the --
substitute Grace’s experts’ median asbestos PI claim liability
estimate of -- I want to say -- I forget -- four sixty eight to

substitute that amount for the amount in the currently proposed

plan.
Q What, if anything, did you conclude from that analysis?
A Well, based on the work that I had done, had that level of

liabilities been at issue, and assuming other components of the
current plan, such as the Fresenius and Sealed Air settlement
amounts been available, as well as with insurance, that Grace
would be solvent in that case, as well.

Q Now, with the various methods that you used in determining
whether Grace is solvent under a plan before the Court as of
the December 31st, 2009 effective date, is any one method
preferable to the other?

A Noe. All of these methods are probative. You know, the
desire is to have as many tests performed as possible and have

as much data available to the professional to do it, but there

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is no one best way to do it and there’s no stipulation that all
three have to be done. So, there’s no best, one best, plan --
I’m sorry -- approach.

MR. PASQUALE: Nothing more at this time, Your Honor.
We pass the witness.

THE COURT: Mr. Cobb?

CROSS EXAMINATION

BY MR. COBB:
Q Mr. Frezza, in producing your opinion with regard to
Grace’s solvency as of 12/31/09, under the balance sheet test
using the market approach, what was the range of values that

you discovered that Grave’s assets will exceed its liabilities?

A The resultant numbers were 430 million to 821 million.
Q Now, in performing any of the tests -- and let me step
back and be more specific. In forming the cash flow test to

determine Grace’s solvency as of 12/31/09 under this plan,
assuming it’s effective, did you need to quantify any
liabilities?

A No. You just needed to take the stated liabilities from

the company’s balance sheet.

Q And that’s an accepted expert methodology --
A Yes.
Q -- of determining solvency?

MR. BERNICK: Objection.

A Yes.

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judgment of the professional performing the test.

Q Well, in your judgment, the analysis that you did was not
complete. True or not?
A It was less complete had I spent more time focusing on the

adequate capital test.

Q Right. Now, under the balance sheet, the only way that
you can conclude that -- strike that. If the plan goes
effective, you believe that Grace will be solvent under that

plan, correct?

A Correct.
Q As it’s currently constituted; that is, with no changes?
A Correct.
Q We all hope and pray and expect that the plan, as styled,

will go effective, and if it does go effective, the good news
is that Grace won’t be insolvent, right?

A Correct.

Q Okay. What you -- and we already knew that before you
came into the case, right?

A Right.

Q It wouldn’t have made an awful lot of sense to come up
with a plan of reorganization and these guys would never have
agreed to it if it turns out that once Grace came out of
bankruptcy it was insolvent, right?

A I would hope that’s the case. Right.

Q So, in fact, your whole analysis is designed to show that

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